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RJN 9– Exhibit to Complaint listing Alleged Infringements – Strike 3 Holdings v Doe WDWA,
3:2017cv05955; filed 11/17/2017.
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                                                        Exhibit A to the Complaint
Location: Kelso, WA                                                                                   IP Address: 71.59.168.162
Total Works Infringed: 58                                                                             ISP: Comcast Cable
 Work        Hash                                        Site                UTC          Published         CRO App. File   CRO Number
                                                                                                            Date
 1           D629C1BE08933BB60DF199F6F24E3812EA2C6C73    Blacked             10/14/2017   10/12/2017        10/22/2017      PA0002058296
                                                                             06:55:40
 2           039F4779148D3E374D990283A83AC46A0219DAE9    Vixen               06/08/2017   04/19/2017        06/15/2017      15389210409
                                                                             06:14:52
 3           04FD5B9A8A95D8C0810EE1DE07F070A00F411D9A    Blacked             09/22/2017   07/24/2017        08/11/2017      PA0002046874
                                                                             17:36:04
 4           05D9E9EB431AEF78D0BD2E16B66F558D4839A3BC    Tushy               08/13/2017   08/09/2017        08/17/2017      15732986259
                                                                             00:18:25
 5           061839DA517C8121C784459FF2EA40CF0AD2A220    Tushy               08/13/2017   05/31/2017        06/22/2017      PA0002039299
                                                                             01:05:47
 6           0F35B475E5AA4FFC774BBB038AEDBD8FF112F9E9    Blacked             06/08/2017   04/15/2017        06/15/2017      PA0002037563
                                                                             01:35:57
 7           1487A26EAAAD70318258AB9F506506A8F293533A    Blacked             06/08/2017   05/05/2017        06/15/2017      PA0002037591
                                                                             03:32:25
 8           1C2C06D480942F4FE7FDCED4759E93805E02B54B    Tushy               06/08/2017   05/21/2017        06/22/2017      PA0002039282
                                                                             06:22:10
 9           1E67DE039B64675913542CB2412BE54790434246    Blacked             09/21/2017   04/10/2017        06/15/2017      PA0002037582
                                                                             05:41:07
 10          22883186DAB5FCA92C8513AD939652BCB867FD5C    Tushy               08/25/2017   08/19/2017        08/24/2017      15894022311
                                                                             06:44:10
 11          23C75D98A22B6821F255E85F2ED58CC5CEC8E2DD    Blacked             09/28/2017   09/27/2017        10/10/2017      15894023060
                                                                             02:05:58
 12          258961E123E520633A96CDF11E8E6F60E233C816    Vixen               07/25/2017   07/23/2017        08/10/2017      PA0002046877
                                                                             05:25:51
 13          289FE7D65DFCFACB416832D12862105A2762841A    Blacked             06/08/2017   05/10/2017        06/22/2017      PA0002039285
                                                                             06:08:59
 14          2F37046EC89B3AD7ED74C2940723618BFD1A4721    Tushy               08/19/2017   08/14/2017        08/17/2017      PA0002048391
                                                                             22:25:11
                                                                                                                                           Case 2:17-cv-01731-TSZ Document 39-9 Filed 06/18/18 Page 2 of 5




 15          2FE5A77075580DAA4C39306919575DCDAA4749C9    Blacked             06/08/2017   05/20/2017        06/22/2017      PA0002039289
                                                                             01:37:36
 16          31577E16E1B68BF13F30BE538E1BAF66E224726A    Tushy               08/13/2017   07/30/2017        08/11/2017      15711086778
                                                                             00:17:57
                          Case 3:17-cv-05955-TSZ Document 1-2 Filed 11/17/17 Page 3 of 5
Work   Hash                                       Site         UTC          Published      CRO App. File   CRO Number
                                                                                           Date
17     3C75DF0338469C899BB90D1928DCB245E2B3C2CF   Blacked      06/08/2017   05/25/2017     06/22/2017      PA0002039290
                                                               23:28:53
18     464AB452DA8258FA23BA74830F0D57EE7CA518C5   Tushy        08/25/2017   08/24/2017     08/24/2017      PA0002052837
                                                               06:42:19
19     47BF158F64C12785E111714AF9A6D0C692778D77   Blacked      10/03/2017   10/02/2017     10/10/2017      15894022390
                                                               05:27:24
20     4B86BC16D0E5A0983C578B61ED87BC62C55B116A   Vixen        08/12/2017   08/12/2017     08/17/2017      15732986308
                                                               23:54:29
21     4BAFD5ED68B2CF55225D8621D9D2D315ACD25C05   Vixen        08/12/2017   06/23/2017     07/06/2017      15584691541
                                                               23:54:30
22     4E3F659D2097DE535B72D13288BF3609CED02E70   Blacked      09/21/2017   08/03/2017     08/17/2017      15732904092
                                                               05:40:15
23     4FF62836FC3C509617EE5DE7658EAABE045C0BA1   Tushy        09/14/2017   09/13/2017     09/25/2017      15894022635
                                                               00:19:11
24     5264FF1CA20A869CA00A84EF194A50DD3CD7B93A   Blacked      09/01/2017   08/28/2017     09/07/2017      PA0002052848
                                                               02:21:16
25     53FF1B4BD8FB69630FE0A67611FE747F902F6874   Vixen        08/21/2017   07/18/2017     08/10/2017      PA0002046875
                                                               06:58:41
26     57265592C5C5250306EC4D4BB6CE2E5CAC8E09C5   Tushy        09/14/2017   09/08/2017     09/20/2017      PA0002052841
                                                               22:53:36
27     5C208E2ABF6083135CA52776A02D87442F215D60   Tushy        06/16/2017   06/15/2017     07/06/2017      15583057198
                                                               02:05:19
28     6437E6F43855D1C98B7B25546D39C5CF0E99962A   Blacked      09/04/2017   09/02/2017     09/07/2017      PA0002052847
                                                               05:40:31
29     65CF8DA2D031F334F39B20014B15DA107B9EAA15   Blacked      08/13/2017   08/08/2017     08/17/2017      15732904191
                                                               00:28:32
30     6640701B1DDC6C0A424BFD623B41D98E73D11B77   Vixen        09/10/2017   08/07/2017     08/17/2017      15732904013
                                                               01:18:43
31     729C3815122E9D62C4F62EC6CAD5CA5B5EBB95F9   Blacked      08/21/2017   07/29/2017     08/11/2017      PA0002046872
                                                               21:18:42
32     766E1C71FF552FF186850DD63CC9ECC58D923874   Tushy        09/05/2017   09/03/2017     09/10/2017      PA0002052851
                                                                                                                          Case 2:17-cv-01731-TSZ Document 39-9 Filed 06/18/18 Page 3 of 5




                                                               02:47:27
33     774A2CED1D4C60BC032A3D8767D4CB89D2EE3DB4 Tushy          07/21/2017   07/20/2017     08/11/2017      PA0002046869
                                                               07:52:58
34     78F5DACFBD414605C47BD190F5C421E65F70B396   Tushy        08/19/2017   07/10/2017     08/17/2017      15732782072
                                                               22:25:18
                          Case 3:17-cv-05955-TSZ Document 1-2 Filed 11/17/17 Page 4 of 5
Work   Hash                                       Site         UTC          Published      CRO App. File   CRO Number
                                                                                           Date
35     807F407D94E9D91A368B24C5EEA7DBA5FF438450   Vixen        08/13/2017   06/28/2017     07/06/2017      15584691463
                                                               00:19:27
36     84C01FA0E5D76CA23530990E9E685C47C10169FC   Blacked      08/19/2017   08/18/2017     08/24/2017      15894022488
                                                               22:04:03
37     8F55C47AC0C8FED6F30E2C094965B3CF4749FA41   Vixen        09/02/2017   08/27/2017     09/07/2017      PA0002052843
                                                               22:19:05
38     901129DA9629352ECBB99FF90FE06A5F749AF4DD   Blacked      09/14/2017   09/12/2017     09/20/2017      PA0002052846
                                                               00:12:25
39     9642336EA4BCA83AB7154CFDFA1091ECBFD98B7A   Blacked      09/21/2017   09/17/2017     09/25/2017      15894023110
                                                               05:32:38
40     A66737A2C0C052A322F7121CB249A59EEBB0E177   Blacked      06/08/2017   05/30/2017     06/22/2017      PA0002039295
                                                               01:41:46
41     AB2C2652EC78AC4AD337CC03DF87E970DCED6443   Blacked      06/18/2017   06/04/2017     07/06/2017      15584691223
                                                               01:31:03
42     AB6FFB0FD899B425F25C5D577CC4811AF5EC369B   Blacked      09/21/2017   07/19/2017     08/11/2017      PA0002046876
                                                               05:34:13
43     AE6A89DD0FB4978EAC561028F9FB06AA0A8D7E6A   Tushy        06/08/2017   05/01/2017     06/15/2017      PA0002037577
                                                               06:19:25
44     AFA4C44023577E2A90E1CFA8DB69A6F5D035B1D2   Blacked      09/09/2017   09/07/2017     09/14/2017      PA0002052840
                                                               01:49:41
45     BA56E328AE2DBA8A20B327451656293E37FDAE35   Blacked      06/08/2017   05/15/2017     06/22/2017      PA0002039283
                                                               23:15:41
46     C496C2BFE4C6D994F43DC665F2CBEE16FE85777A   Tushy        08/19/2017   06/05/2017     07/06/2017      15583057012
                                                               22:24:41
47     CA328163FA3ADE41786B2BE2C246F9EB7AE2EEA4   Blacked      06/10/2017   06/09/2017     07/06/2017      15584064165
                                                               23:25:36
48     CB9ABC2B058CADE2FA7C0BD6A20558DC0E46EB0D   Blacked      06/20/2017   06/19/2017     07/06/2017      15584064069
                                                               00:19:50
49     CC4D89C30BD65D68546BCF62ACE381585BD879EF   Blacked      06/08/2017   04/25/2017     06/15/2017      PA0002037576
                                                               23:11:59
50     D03BF7C43A2F989CD84F9B6037D4941B7C616ED0   Blacked      06/16/2017   06/14/2017     07/06/2017      15584064117
                                                                                                                          Case 2:17-cv-01731-TSZ Document 39-9 Filed 06/18/18 Page 4 of 5




                                                               17:31:40
51     D513F1B4A7C6B72B1F1CE73FCC38227A6251E4CA   Blacked      06/29/2017   06/24/2017     07/06/2017      15584064021
                                                               06:10:59
52     EA9B3A53CA20ACAF75F495FB1ECF65A7A12B895A   Blacked      06/30/2017   06/29/2017     07/06/2017      15584063973
                                                               08:37:59
                          Case 3:17-cv-05955-TSZ Document 1-2 Filed 11/17/17 Page 5 of 5
Work   Hash                                       Site         UTC          Published      CRO App. File   CRO Number
                                                                                           Date
53     EB2486249DE6C26072552A5E7406D85E4BE43952   Tushy        07/07/2017   06/30/2017     07/06/2017      15584063421
                                                               01:44:00
54     EB7AE91B0DD3565F29908CB6FB8ED993D709A162   Blacked      07/16/2017   07/14/2017     08/11/2017      PA0002046878
                                                               19:26:54
55     EE39528C7065FF52B465D599BA395BF972CD06E6   Blacked      06/10/2017   04/30/2017     06/15/2017      PA0002037580
                                                               23:31:16
56     F8FEB2EE6C17B37610C5B2AE85F0266CB0C5C5BD   Blacked      07/05/2017   07/04/2017     07/06/2017      15584063685
                                                               19:18:24
57     FD44EDB24CBD0DBFDF7E9F7D0E6A3B4451EDE702   Vixen        10/12/2017   09/21/2017     09/28/2017      15894022962
                                                               23:57:58
58     FD622BCB0843A8B0A5C4FAAD98CA90F0DC55A559   Blacked      09/28/2017   09/22/2017     10/02/2017      15894023159
                                                               02:19:43
                                                                                                                          Case 2:17-cv-01731-TSZ Document 39-9 Filed 06/18/18 Page 5 of 5
